          Case 3:21-cv-03096-L Document 7 Filed 12/23/21                   Page 1 of 3 PageID 61



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                          IN THE UNITED STATED DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                             )
    In re:                                                   )   Chapter 11
                                                             )
    HIGHLAND CAPITAL MANAGEMENT,                             )   Case No. 19-34054-sgj11
    L.P., 1                                                  )
             Reorganized Debtor.                             )
                                                             )
                                                             )
    NEXPOINT ADVISORS, L.P.,                                 )
                                                             )
                            Appellant,                       )
                                                             )
    vs.                                                      )   Case No. 3:21-cv-03096-L
                                                             )
    SIDLEY AUSTIN LLP,                                       )
                                                             )
                            Appellee.                        )


                   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

             PLEASE TAKE NOTICE that the undersigned attorneys of Sidley Austin LLP, hereby

enter an appearance (the “Notice of Appearance”) on behalf of the Official Committee of

Unsecured Creditors (the “Committee”) in the above-captioned case and request that copies of all



1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are 6725. The headquarters and
service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


                                                       1
ACTIVE 276257030
      Case 3:21-cv-03096-L Document 7 Filed 12/23/21                Page 2 of 3 PageID 62



notices, pleadings given or filed in this case, be given and served upon it at the following address,

telecopy, e-mail and telephone number:

                                 Juliana L. Hoffman, Esq.
                                 SIDLEY AUSTIN LLP
                                 2021 McKinney Avenue, Suite 2000
                                 Dallas, Texas 75201
                                 Telephone: (214) 981-3300
                                 Email: jhoffman@sidley.com

         PLEASE TAKE FURTHER NOTICE that the counsel(s) requesting notice herein

consent to electronic service of all documents in this action, including all notices, orders and

opinions issued by the court pursuant to Local Rule 5.1(d).


Dated: December 23, 2021


                                                SIDLEY AUSTIN LLP


                                                /s/ Juliana L. Hoffman
                                                Penny P. Reid
                                                Matthew A. Clemente (pro hac vice application
                                                forthcoming)
                                                Paige Holden Montgomery
                                                Juliana L. Hoffman
                                                Sidley Austin LLP
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                                                Counsel for Appellee, Sidley Austin LLP



                                 CERTIFICATE OF SERVICE

         The undersigned certifies that on December 23, 2021, a true and correct copy of the
  foregoing Notice of Appearance will be electronically served on the parties that are registered
  or otherwise entitled to receive electronic notices in this case pursuant to the Electronic Filing

                                                  2
ACTIVE 276257030
      Case 3:21-cv-03096-L Document 7 Filed 12/23/21     Page 3 of 3 PageID 63



  Procedures in this District.
                                       /s/ Juliana L. Hoffman
                                       Juliana L. Hoffman




                                        3
ACTIVE 276257030
